     Case 25-40976        Doc 516  Filed 05/29/25 Entered 05/29/25 11:09:22               Main Document
                                               Pg 1 of 4
                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

                                                            )
    In re:                                                  ) Chapter 11
                                                            )
                                       1
    23ANDMEHOLDING CO., et al.,                             ) Case No. 25-40976
                                                            )
                           Debtors.                         ) (Jointly Administered)
                                                            )

     THE CONSUMER PRIVACY OMBUDSMAN’S NOTICE OF NON-OPPOSITION TO HIS
       APPLICATION FOR AUTHORIZING THE RETENTION AND EMPLOYMENT OF
           WILMER CUTLER PICKERING HALE AND DORR LLP AS COUNSEL

             Neil M. Richards, the Court-appointed Consumer Privacy Ombudsman (“CPO”), by and through

counsel, hereby gives notice of non-opposition to his Application for the retention and employment of

Wilmer Cutler Pickering Hale and Dorr LLP as counsel to the CPO, and states as follows:

             1.    On May 13, 2025, the CPO filed his Application for the Retention and Employment of

Wilmer Cutler Pickering Hale and Dorr LLP as Counsel (the “Application”) [Doc. #406].

             2.    The deadline to file a response to the Application was May 29, 2025.

             3.    No response (timely or otherwise) to the Application has been filed.

             4.    Accordingly, the CPO respectfully requests that the Court enter the order granting the

Application, a copy of which was submitted to chambers on same day as the Application (May 13, 2025)

by Debtors’ counsel.




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of
      the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’
      service address for purposes of these chapter 11 cases is: 870 Market Street, Room 415, San
      Francisco, CA 94102.


HB: 4925-1010-8743.2
Case 25-40976           Doc 516   Filed 05/29/25 Entered 05/29/25 11:09:22     Main Document
                                              Pg 2 of 4


                                                    Respectfully submitted:

                                                    HUSCH BLACKWELL LLP

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                                                    -and-

                                                    WILMER CUTLER PICKERING HALE AND
                                                    DORR LLP

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 HB: 4925-1010-8743.2
Case 25-40976           Doc 516   Filed 05/29/25 Entered 05/29/25 11:09:22   Main Document
                                              Pg 3 of 4


                                                    Proposed Attorneys for Neil M.
                                                    Richards, the Court-appointed Consumer
                                                    Privacy Ombudsman




 HB: 4925-1010-8743.2
Case 25-40976           Doc 516   Filed 05/29/25 Entered 05/29/25 11:09:22      Main Document
                                              Pg 4 of 4


                                  CERTIFICATE OF SERVICE

        I hereby certify that the forgoing was electronically filed with the Clerk of the
 United States Bankruptcy Court for the Eastern District of Missouri on May 29, 2025, and
 was served upon all parties receiving CM/ECF notification in this matter, as evidenced by
 the receipt generated at the time of filing.



                                                     /s/ Christopher C. Miles
                                                    Christopher C. Miles




 HB: 4925-1010-8743.2
